      Case 2:14-cr-00168-TOR           ECF No. 1758         filed 09/27/16     PageID.8527 Page 1 of 2
 PROB 12C                                                                        Report Date: September 26, 2016
(6/16)

                                       United States District Court                             FILED IN THE
                                                                                            U.S. DISTRICT COURT
                                                                                      EASTERN DISTRICT OF WASHINGTON

                                                       for the
                                                                                       Sep 27, 2016
                                        Eastern District of Washington                     SEAN F. MCAVOY, CLERK



                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Jered Pederson                           Case Number: 0980 2:14CR00168-TOR-5
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice, Chief U.S. District Judge
 Date of Original Sentence: October 20, 2015
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. §§ 1344, 1349
 Original Sentence:       Prison 1 day; TSR - 36 day        Type of Supervision: Supervised Release
 Asst. U.S. Attorney:     Alison Gregoire                   Date Supervision Commenced: October 20, 2015
 Defense Attorney:        Federal Defenders Office          Date Supervision Expires: October 19, 2018


                                         PETITIONING THE COURT

                To incorporate the violation(s) contained in this petition in future proceedings with the
violation(s) previously reported to the Court on 09/22/2016.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            3           Standard Condition # 1: The defendant shall report to the probation officer in a manner
                        and frequency directed by the court or probation officer.

                        Supporting Evidence: Mr. Pederson was instructed to report to the undersigned officer on
                        September 21, 2016, for the purpose of discussing the recent violation of his conditions of
                        supervised release. Mr. Pederson failed to report to the undersigned officer. The
                        undersigned officer was able to reach Mr. Pederson by phone where he reported he failed
                        to make the appointment today because he forgot about the appointment.
            4           Standard Condition # 2: The defendant shall not leave the judicial district without the
                        permission of the court or probation officer.

                        Supporting Evidence: On September 23, 2016, the undersigned received a call from
                        dispatch at the Kootenai County Sheriff’s Office stating Mr. Pederson was a passenger in
                        a vehicle that was pulled over in Idaho. Mr. Pederson did not request or granted permission
                        to travel to Idaho.
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Prob12C
Re: Pederson, Jered
September 26, 2016
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                                     I declare under penalty of perjury that the foregoing is true and correct.
                                                       Executed on:     09/26/2016
                                                                        s/Joshua D. Schull
                                                                        Joshua D Schull
                                                                        U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [X ]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Defendant to appear before the Judge assigned to the
          case.
 [ X]     Defendant to appear before the Magistrate Judge.
 [ ]      Other

                                                                        Signature of Judicial Officer

                                                                        September 27, 2016
                                                                        Date
